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STATE OF NEW HAMPSHIRE
JUDICIAL BRANCH
Confidential
Transcript of Michelle Walker Interview
Friday, February 5, 2010
Plymouth District Court
Christine Howe, Esq.,
Human Resources Manager, State of Vermont

Ms. Howe:

Everyone:

Ms. Howe:

Attorney Culver:

Ms. Howe:

Ms. McAllister:

Ms, Howe:

Today is Friday, February 5, 2010. This is Christine Howe.
Good morning everyone.

Good morning.

And everyone here understands that our conversation right

now is being recorded and I have here with me Mrs. Michele

Walker and with her is her legal counsel, Attorney Rose-...- ss. +. .-

Culver.

Good morning.

Good morning. Also present in the room is Yvonne
McAllister from the Office of the Court Administrator of New
Hampshire.

Good morning.

And Julie Moore, who is legal counsel for the Court

Administrator's Office.

{ AOC 004387
Mrs. Walker:

Ms. Howe:

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Mrs. Walker:

Hm hm. That is it.

Okay. Thank you. Did everyone else get that. So at the
bottom of page seven, says, "Made me feel like I was on
trial and didn't trust her."

Hm hm.

On page 8 says, "I reported it all the time."

Hm hm.

On page 9 I said, “At this point I must."

Hm hm.

On page 10, "Unannounced admin to hang out for the day
and visit."

Hm hm.

Page 11 say, "I am just hanging out” and there is a little side
note that says, does it say When I reached out? (inaudible)
lower right hand corner?

I don't have that. That must be the one that is at the
beginning.

That is.

Okay.

No. 11.

And then this is last.

55 AOC 004441
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-Mrs. Walker:

So No, 11 at the top of this packet. Next page. This little
note in the corner says, “When I reached out?"

Yes. And then that is the last?

This is the last. (Inaudible) "I told Paula I should have
recorded it and we would both know." I told Paula?

Hm hm.

Not Paul?

No Paula.

Okay. When you told her that you should have recorded it,
what were you referring to?

I asked her to record it in the beginning and she said no,
You mean your conversation with her? Do we need to sort
out any other notes? Terrific. All right.

The only other thing I want to, it is in the statement
anyways. ..

Yes.

But um there is a couple of things that I just want to
emphasize that I did always talk to Pam.

Pam Kozlowski?

Yes. And it is in the statement and I told her a lot of my.
concerns and the sexual relationships and what was going

on at the court and what I was subject to and she always

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Ms. Howe:

So she would call you back sometimes too?

Oh yes. She was trying to help me get through it because
she knew I was in panic mode and I trusted her.

I believe the last time we talked you stated that you started
to have concerns about this in January of 2009? Am I
remembering that correctly?

‘08 is when it all started.

In 2008?

Hm hm.

And at that time you started sharing your concerns with Pam
about what was going on?

I always shared everything with Pam.

And so.

And there is a lot of information in here about it.

In the 24 page thing? Okay. And I believe-last time you
said it was pretty regular conversations that you had with
her about that?

Yes. And then on page 2 with this, I don't know why I put
April because I wasn't sure of the date, it is definitely
January. I've said that twice so I know that it is January.
So I don't know why it says April.

Private meeting with Judge Kelly?

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58
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Mrs. Walker:

told me that to be careful with it because they would say I
was crazy and she was crazy and so because they are Family
Division employees it was up to them to fix it. That they
were Gina's girls so.

And we did talk about that a little bit.

T just wanted to reemphasize on that.

And I believe that part of the documents that were
exchanged since our last meeting were some copies of some
phone records that you provided.

That's right.

And I am wondering when you, am I remembering this
correctly, your conversations with Pam Kozlowski that you
would have these conversations after hours?

Yes.

And did you call her on her cell phone or-on her home phone .- -

when you were having these conversations about your

ongoing concerns about the environment? You would cail

her (inaudible).

Like if she was busy making dinner for her girls she would
say I will call you back and she would call me back. So it

would be her records that you would have to get not mine

because it is not going to show.

57 AOC 004443
Mrs. Walker:

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Attorney Culver:

Ms. Howe:

It was in January of '08.

So if you wouldn't mind terribly, just on my copy can you
just make that correction and then initial it for me.
Because I did say it was questionable but I know it is
January.

And if you wouldn't mind just initialing that that would be
great,

Hm hm.

Any other corrections that you think need to be made?

I don't think so.

I would like to touch on a couple of issues that were raised
in your Human Rights Commission complaint that was filed
on January 28th.

I don't think we should address that.

“Well. Okay. Can I ask the question though and then you can -

decide if you want your client to answer or not?

Okay. Sure.

I'm not going to. I don't think it is in my best interests to

do that.

Well lets just see, We will hear the question and then. . .

I can ask the question you can consult and then let me know
what you would like to do. That's fine. Your initial letter in

AOC 004445
59
Mrs. Walker:

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. “Ms. Hower ————

Mrs. Walker:

Ms. Howe:

Mrs. Walker:

That is my answer to the question.

Okay. But I just want to make sure I understand your
answer. Because you have said this a couple of times. You
feel like people just haven't, you haven't been
communicated with.

At all.

At all. And you attribute that to being retaliated against
because of your complaint.

T had lots of complaints and then I filed a sexual harassment
complaint and then I don't know how much more I could
have done to reach out for help.

Is it your belief that Paula Hurley has retaliated against you
for your complaint activity?

Yes,

And what specifically has she done-that you-consider CO DE we eee cae

retallatory?

It is all in my statement but she was very firm with me and
said do what you have to do but all you've is a story and
that's that,

So what happened that led you to feel that Paula is
retaliating against you is in your 24 page statement?

Yes. Itis.

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Mrs. Walker:

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Mrs. Walker:

No. It was an on going issue of me getting back to work. I
have been trying to get back to work for a long time.

Since when, October?

Whatever the records say.

So since last Fall?

Hm hm.

And since the time that you made your complaint of
November 9, 2009?

Yes.

Okay. And (inaudible) because you have not been allowed
to come back to work that that is a form of retaliation?
Yes. I can do the job. I don't know why I can't come back
to work.

Well. I was curious, I was curious to know what you would
hope would come of this. It sounds like you want to be-able-
to go back to work.

We will see what happens. At this point, we will see what
happens. That you decide.

I don't decide. I am asking you if you could, what are you
haping , oe

That I would be able to work in a good environment. That

is what I would like.

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Ms. Howe:
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Ms. Howe:

Mrs. Walker:

So you would like to come back to work?

And work in a good environment that it used to be.

And how would you describe what a good environment is?
Team effort. Everybody getting along and no hostility, no
retaliation, no yelling, no screaming. I don't think it would
have ever gotten to that point if something would have been
taken care of.

Okay. I was also curious if you could help me understand
how you believe that your gender has been a factor
involving harassment, discrimination and retaliation?

Do I have to answer that.

Rose is shaking her head no,

I don’t want to answer that right now. This is something

new so that will come out later.

Okay. But is your 24 page document and.statement is that

were we would find information about your claims of gender
discrimination?

Not necessarily. Some of it maybe. I really can’t answer the
question. I am sorry.

And again, just for the record, and its not to feel like you
have to answer I am just saying. . .

I don't want to answer the question.

90 AOC 004476
Ms. Howe: At this time, Mrs. Walker is declining to answer the question
about information that leads her to believe that she has
been discriminated against on the basis of her gender.
Correct? You. are shaking your head yes.

Mrs. Walker: Yes,

Ms. Howe: Thank you.
Mrs. Walker: I said it three times.
Ms. Howe: And again the statement in number 8 talks about sexual

orientation (heterosexual).

Mrs. Walker: I don't care to answer that right now.

Ms. Howe: You don't care to answer that right now either as to the
substance of the claim or to who has been discriminating
against you on the basis of your heterosexual orientation?

Mrs. Walker: No.

-Ms, Howe: -- ~~. -- And she says no. Is there anything that.came-up for-you -~

during the lunch break that you wanted to make sure we

addressed here today?

Mrs. Walker: Nope, I don't think so. I mean I think I would like a copy of
those notes because the transcript is very difficult and it is
really kind of a joke. So if I could get copies of those notes
that would maybe help us because the transcript its

(inaudible). We can't read it. It doesn't make any sense.

91 _ AOC 004477
